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                         Exhibit A
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                                                                                                           USOO6272506B1

     (12) United States Patent                                                         (10) Patent No.:                     US 6,272,506 B1
            Be                                                                         (45) Date of Patent:                           *Aug. 7, 2001

     (54) COMPUTERIZED VERIFICATION FORM                                            (56)                      References Cited
             PROCESSING SYSTEMAND METHOD                                                               U.S. PATENT DOCUMENTS
     (75) Inventor: Lewis Bell, Walpole, MA (US)                                           5,325,478      6/1994 Shelton et al. ....................... 707/507
                                                                                           5,606,609      2/1997 Houser et al. ........................... 380/4
     (73) Assignee: Doxis, LLC, Norwood, MA (US)                                           5,710,887 * 1/1998 Chelliah et al. ..................... 34.5/226
                                                                                           5,813,009      9/1998 Johnson et al. ...................... 707/100
     (*) Notice:            This patent issued on a continued pros-                 * cited by examiner
                            ecution application filed under 37 CFR
                            1.53(d), and is subject to the twenty year              Primary Examiner Hosain T. Alam
                            patent term provisions of 35 U.S.C.                     ASSistant Examiner Alford W. Kindred
                            154(a)(2).                                              (74) Attorney, Agent, or Firm-Kirk Teska; Iandiorio &
                                                                                    Teska
                            Subject to any disclaimer, the term of this             (57)                        ABSTRACT
                            patent is extended or adjusted under 35
                            U.S.C. 154(b) by 0 days.                                A computerized form processing System including a data
                                                                                    base for Storing at least one form having one or more fields;
     (21) Appl. No.: 08/928,686                                                     a viewer for viewing a stored form; a data entry device for
                                                                                    entering information into the fields of a form; programming
     (22) Filed:     Sep. 12, 1997                                                  for monitoring whether the information in a field has
                                                                                    changed and for automatically flagging any changes to the
     (51) Int. Cl." .................................................. G06F 17/30
     (52) U.S. Cl. .......................... 70's. 7070,775,                       information entered into a field.
                                                                       707/9                           32 Claims, 15 Drawing Sheets
     (58) Field of Search .................................. 707/9, 10, 100,
                       707/102-104,500-507, 508, 509, 526,                                             Microfiche Appendix Included
                                                         517; 345/326-433                                 (1 Microfiche, 70 Pages)


                         PRODUCT                                                                                        10
                                                                              BATCH SIZE AFTER                        DATE REC'D

                                               PROPERTY                        SPECIFICATION LIMITS                   RESULTS
                                                                                                                      PaSS    Fai
                          321A               COLOR                            WHITE, ASPER STANDARD O                                O
                          321B               ODOR                             AS PER STANDARD                          O 1. O
                          321C               APPEARANCE                        FIRM CREAM                              O             O

                          O019               PH3.6TO 40 (25 DEGC) 3-6
                           011B      VISCOSITY
                              NOTEO1
                                INTIAL
                                        TC @ 5RPM2OTO 40 BSU
                                            (30 DEGC)
                                        2 HOUR:
                           011B             VISCOSITY
                                            TD G) 5RPM2OTO 30 BSU
                                                (25 DEGC)
                                            TD G 5RPM35TO 55BSU
                                                (25 DEGC)
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         PRODUCT                                                    10
                                          BATCH SIZE AFTER        DATE RECD

                     PROPERTY             SPECIFICATION LIMITS   RESULTS
                                                                 PaSS    Fai
          321A      COLOR                 WHITE, ASPER STANDARD O      -O
          321B      ODOR                  AS PER STANDARD         O 12 O
          321C      APPEARANCE            FIRMCREAM                      O

          O019     PH36 TO 40 (25 DEGC) 3-6
          011B      VISCOSITY
             NOTEO1
               INTIAL
                 TC @ 5RPM20 TO 40 BSU
                     (30 DEGC)
                 2HOUR:
          011B     VISCOSITY
                   TD G 5RPM20 TO 30 BSU
                       (25 DEGC)
                   TD G 5RPM35TO 55BSU
                       (25 DEGC)



                                         FIG. I.
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           DOXIS - Login
          ldentify Yourself                                        70
           Joe Smith                     v.




                             FIG. 3
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        100
              Field Data Entry

        102
                   DOes                                       Get Signoff
               Field have a                                (Digital Biometric
                  History                                    or Electronic)


                                     Change
                                      field
                                   appearance


        104
                                                                 ReSet Field
               Create Data                                         Value
              record for field
                                                         112

                 POSt Field
                  Control




                                    FIG. I.3
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                   136
                         ACCeSS to data
                       record (to change)
                   138
                       Compute checksum
                       on form record set


                          Read stored
                          Summation
                           Checksum


                 142
                             f
                    Summation checksum                     Flag error
                       not equal to recent                (no access)
                           checksum



                            Continue
                         (aallow access)
                                                       FIG. I6


                                        PharmCen Object



                                                                Electronic Form
                 PharmCen Client                                Filler (Jetform
                                                                   or other)

                                            FIG. I. 7
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                                                          US 6,272506 B1
                                    1                                                                       2
           COMPUTERIZED VERIFICATION FORM                                    rithms and changes or modifications can be made Severely
            PROCESSING SYSTEMAND METHOD                                      affecting the integrity of the data. For example, pharmaceu
                                                                             tical company perSonnel facing an investigation and/or a
                       FIELD OF INVENTION                                    lawsuit, may retrieve old records and improperly change
                                                                             certain data entries to escape culpability and/or liability.
        This application contains a microfiche appendix consist                 Accordingly, the change from paper based forms to com
     ing of 1 sheet and 70 frames.                                           puterized forms has not been implemented in Some indus
        This invention relates to a computerized form processing             tries as quickly as desired and one regulatory agency,
     System and method which provides an automatic and posi                  namely the FDA, closely Scrutinizes any attempt to com
     tive audit trail of changes made to data entries in electronic          puterize the standard operating procedures (“SOP”) batch
     forms.
                                                                             form used by pharmaceutical companies to keep a record of
                  BACKGROUND OF INVENTION
                                                                             pharmaceutical manufacturing processes.
        The benefits of computerized forms as compared to paper                             SUMMARY OF INVENTION
                                                                        15
     forms are numerous. Data entry is easier and faster, paper                It is therefore an object of this invention to provide an
     costs are reduced, Storage Space is optimized, retrieval is             improved computerized form processing System and
     faster, and data integrity is ensured. Moreover, because of             method.
     the use of database and spreadsheet technology, reports                    It is a further object of this invention to provide such a
     concerning data entered on the forms can be generated much              System and Such a method which automatically keeps track
     faster and even automatically. Configuration control is also            of all data entry changes.
     made easier. Finally, when a computer network is used, data
     entry can be monitored in real time and multiple users can                 It is a further object of this invention to provide such a
     access a given form and its data Simultaneously.                        system and such a method which complies with FDA
                                                                             requirements concerning data entry changes.
        In contrast, when paper forms are used, data entry is slow,
     the paper version of the form plus the required copies take        25      It is a further object of this invention to provide such a
     up an inordinate amount of Storage Space, and retrieval of              System and Such a method which automatically flags a
     paper forms requires a manual filing System. Report gen                 changed entry and which allows the user to initialize the
     eration involves manually going through a number of com                 change in accordance with the FDA's requirements.
     pleted forms to extract the required data. Finally, a manual               It is a further object of this invention to provide such a
     configuration control System must be implemented.                       System and Such a method which allows authorized users to
        Computerized forms overcome these and many other                     effect a change by entering new data and then initialing or
     disadvantages of paper forms. Still, computerized forms do              Signing the new entry via a digital biometric Signature or
     Suffer from Some Shortcomings. For example, computers                   initial capture or by electronic signatures that require two
     typically handle data entry changes by completely eliminat         35
                                                                             Separate identifiers in accordance with FDA requirements. In
     ing the old values and replacing them with the most current             Such a case it is an object of this inventions to automatically
     values. For example, if the value of 25 is typed into a field           flag the changed entry So that it is visibly different from an
     of a spreadsheet or database and then this value is replaced            unchanged entry, both on the computer Screen and on the
     by the value 26, there will be no record of the old value 25            printed (output) form, as well as in exception reports.
     using current electronic form generation products.                 40      It is a further object of this invention to provide such a
        This deficiency in computerized databases and Spread                 System and Such a method which provides a clear audit trail
     sheets has Severely affected the implementation of comput               of all data entry events associated with a paperleSS form.
     erized forms in Some industries. For example, the Food and                 It is a further object of this invention to provide such a
     Drug Administration (FDA) has issued regulations which                  System and Such a method which automatically verifies the
     require pharmaceutical companies and other companies               45   integrity of Stored completed forms.
     regulated by the FDA to croSS out an incorrect data entry So               This invention results from the realization that a comput
     that it can Still be read and also require data entry perSonnel         erized form processing System which complies with current
     to initial or sign in association with the change. Similar rules        good manufacturing procedures thereby providing an audit
     apply in many diverse industries, including data recording              trail for authorized changes to data entered on computerized
     requirements for military testing and inspection procedures        50   forms can be implemented by a unique routine or Set of
     and medical patient records. The reason for these croSS out             routines which automatically monitor whether a value is
     and initial or sign procedures is to provide a clear audit trail        changed after it is first entered into the form and, if So,
     for evaluation purposes should a drug, military device, or              requires the user to authorize the change by Sign off before
     medical procedure fail to perform as Specified or worse,                the changed value will be accepted, and which then flags the
     harm individuals or groups of individuals.                         55   changed value and Stores the previous value, the changed
        AS delineated above, currently known computerized                    value, the user's initials, and the date and time each value
     paperleSS form generation Systems cannot implement this                 was entered. Both in the application Screens, and during
     croSS out and initial requirement because, by their very                output (e.g. printout), the fact that a change was made to a
     nature, computerS allow changes to be made to data without              value is automatically made apparent to the reviewer.
     keeping a record of the data changes. Indeed, one of the           60     This invention results from the further realization that if
     advantages of computerized data entry is the ease of making             field check Sums of all values entered on a computerized
     changes. Another problem with computerized forms is the                 form are performed as the form is being completed and then
     unusual ease with which unauthorized modifications can be               a final Summation checksum if performed after the form is
     made. Since all of the data, the form itself, and even any              completed, then later if any unauthorized changes are made,
     electronic or digital biometric Signatures associated with the     65   the check sum values will be different thereby providing a
     form are really just Stored computer records, unauthorized              Verification to ensure that Stored data is not corrupted. Any
     access to these records can be made despite Security algo               Subsequent access to the form will result in recalculation of
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                                   3                                                                      4
     the Summation checksum, and comparison of that value with              ture block and Verifying that an authorized entry is made to
     the previously Stored value. If there is a discrepancy, acceSS         the Signature block, and automatically resetting the field to
     will be denied, and an error report will be generated.                 reflect the previous information entered into the field if the
        This invention features a computerized form processing              Signature block is not properly completed. In the preferred
     System comprising: a database for Storing a form including             embodiment, further included is the Step of performing a
     one or more fields, a viewer for viewing a stored form; a data         Summation check for the information entered into a form
     entry device for entering information into the fields of a             and Storing the resulting checkSum value representing the
     form; means for monitoring whether the information in a                information for monitoring changes made to completed
     Said field has changed; and means for automatically flagging           forms.
     any changes to the information entered into a field.                       DISCLOSURE OF PREFERRED EMBODIMENT
        All the information entered into a field including all
     revisions, are automatically Stored in a database. The viewer            FIG. 1 is a view of a prior art paper form showing
     is preferably a touch Screen and then the data entry device            compliance with the croSS out and initial requirements
     includes a pen device.                                            15
                                                                            imposed on many industries,
        Further included may be a field modification verification             FIG. 2 is a block diagram showing the primary compo
     routine for authorizing a change to information entered into           nents of the computerized form processing System of this
     a field. This routine includes means for displaying a Signa            invention;
     ture block on the Screen and means for Verifying that an                  FIG. 3 is a view of a Sign on Screen allowing the user to
     authorized entry is made to the Signature block. The field             access the System shown in FIG. 2;
     modification verification routine further includes means for
     resetting the field to reflect the previous information entered           FIGS. 4 through 10 are printouts of the screens generated
     into the field if the Signature block is not properly com              by the computerized form processing System of this inven
     pleted. This invention also features means for performing a            tion relating to the automatic flagging of changes made to
     Summation check for the information entered into a form                information entered in a field of a computerized form and the
     and means for Storing a checkSum value representing that          25   requirement that the user identification be linked to all Such
     information for monitoring changes made to completed                   changes i.e. digital Signatures or initials or Some other
     forms.                                                                 regulatory compliant electronic Signature;
        The computerized form processing System of this inven                  FIGS. 11 and 12 are printouts of the actual screens
     tion includes a database for Storing a form including one or           presented to the user of the computerized form processing
     more fields, a viewer for viewing a stored form; a data entry          System of this invention showing the audit functions per
     device for entering information into the fields of the form;           formed in accordance with this invention;
     means for monitoring whether the information in a field has               FIG. 13 is a flow chart of the computer programming of
     changed; means for automatically flagging any changes to               this invention which automatically flags the changed data,
     the information entered into a field; and means for auto          35
                                                                            prompts the user for his or her initials or other FDA
     matically Storing, in the database, the original information           compliant indentifer, and which creates a data record for the
     entered into the fields of the form and all changes made to            changed data entered by the user;
     the information.                                                          FIG. 14 is a flow chart of the computer programming of
        In another embodiment, there is a database for Storing at           this invention depicting the processing which occurs when a
     least one form including one or more fields, a viewer for         40
                                                                            form record is requested for output, for example by printing
     Viewing a stored form; a data entry device for entering                a hard copy of a completed form;
     information into the fields of the form; means for monitoring             FIGS. 15-16 are flow charts depicting the operation of the
     whether the information in a field has changed; means for              Summation check data integrity function of the Subject
     automatically flagging any changes to the information                  invention; and
     entered into a field; and field modification Verification means   45      FIG. 17 is a block diagram depicting the Separation of and
     for authorizing changes to information entered into a field.           the interaction between the form object and the client
        In another embodiment, the computerized form process                version of the computerized forms in accordance with this
     ing System of this invention includes a database for Storing           invention.
     at least one form including one or more fields, a viewer for             As delineated in the Background of the Invention above,
     Viewing a stored form; a data entry device for entering           50   paper forms are still used in Some industries Such as batch
     information into the fields of the form; means for monitoring          control form 10, FIG. 1, used to record various data about a
     whether the information in a field has changed; means for              chemical compound including its color as shown at data
     automatically flagging any changes to the information                  entry record field 12 and the PH level as shown in field 14.
     entered into a field; means for performing a Summation                 AS used herein, a form is defined as collection of data
     check for the information entered into a form; and means for      55   regarding a transaction (e.g. a manufacturing process or
     Storing the resulting checkSum value of the information for            medical patient records) required to be kept as a record. One
     monitoring changes made to completed forms.                            reason Such paper forms are still used is that current regu
        The computerized form processing method of this inven               lations require that when changes made to a data entry, for
     tion features the Steps of establishing a database including at        example a change from 3.6 to 3.8 in PH field entry 14, the
     least one Stored form including one or more fields, moni          60   old value (here 3.6) must be crossed out so that it can still
     toring whether the information entered into a field has                be read and understood, and the new value then recorded,
     changed; and automatically flagging any changes to the                 (here 3.8), and the entry of the initials or other FDA
     information entered into a field.                                      compliant user identifiers of the technician entering the data.
        The method further includes the steps of automatically              Such mistakes tend to occur, for example, when the tech
     Storing, in the database, all the information entered into a      65   nician misreads a value indicated on a PH metering device.
     field; requiring an authorization for any changes made to                 The reasons for these regulations and this long Standing
     information already entered into a field; displaying a signa           practice is So that an audit trail is maintained concerning
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                                    S                                                                        6
     what was changed, who made the change, and who autho                     that system 20 operates as an electronic “clipboard” which
     rized the change, see field 15, FIG. 1.                                  the technician carries around the manufacturing facility.
        After completion, batch control form 10 is stored in a file           Server 40 is then connected to "clients' 42, 44, and 46.
     for later review and/or report generation where, for example,            Accordingly, database program 26 and the other programs
     the PH level for several batches may be reviewed for trend               may actually reside, in whole or in part, on Server 40. Spread
     analysis.                                                                Spectrum Radio Network package 27 including the appro
        One reason many of these types of forms are not                       priate hardware and Software residing on System 20 and
     computerized, as discussed in the Background of the Inven                server 40 enables system 20 to communicate with server 40
     tion above, is that most prior art form generation computer              and vice versa. Alternatively, system 20 could be hard wired
     programs automatically delete old values when a new data                 to server 40 and/or and other kind of communication links
     entry value is entered into a field and no indication is made            could be used, e.g. Satellite transmissions.
     that a change was ever effected. Note that paper form 10                    Database program 26 Stores the form used at a specific
     reveals two pieces of important information: first, that a               manufacturing facility as generated by electronic form gen
     change was made to the PH level reading and, Second, that                eration package 30. Pen 23 in combination with touchscreen
     the old or original value was 3.6. In contrast, currently           15   22 and keyboard 25 act as a data entry device for all data
     known computerized data entry programs fail to Show that                 entered into fields 50, 52, 54, and 56 of form 60 displayed
     a change was ever made nor do they keep a record of                      on viewing means Such as Screen 22. Database program 26
     previously entered values. Although Some programs may                    stores the values entered by the user in fields 50 through 56
     have an “exception report' capability, there is no indication            of form 60 and all completed forms. As discussed with
     provided on the completed form that a change was ever                    reference to FIGS. 3 through 14, application program group
     effected, there is no indication concerning who made or                  28 includes means for monitoring whether there has been a
     authorized the change, and the exception report must be                  change to the information entered in a given field, and means
     manually requested each time it is to be analyzed.                       for automatically flagging any Such changes. Application
        In this invention, however, computerized form processing              program group 28 in conjunction with database program 20
     System 20, FIG. 2, automatically flags the occurrence of a
                                                                         25   also includes means for automatically Storing in a database
     value change, requires the data entry technician to sign or              all values entered into a field So that a permanent record is
     initial the change or employ an FDA compliant electronic                 kept of all previous values.
     Signature, records the technician's biometric digital Signa                 A field modification routine of application program group
     ture or electronic Signature, keeps a record of all previous             28 which interfaces with signature verification program 32
     entries for audit purposes, and automatically provides a                 is programmed to monitor when a change is made to data
     printout which indicates whether values were changed when                previously entered into a field and then to automatically
     the form was in the process of being completed or afterward.             display a Signature block which must be completed before a
        Indeed, in the preferred embodiment, if the technician                change will be received. Otherwise, this routine does not
     does not initial the change, the value in the field is auto         35
                                                                              allow the change to be made and the data is reset to its
     matically changed back to its previous value thus preventing             original value. Finally, an output routine automatically pro
     the entry of unauthorized changes. Moreover, a check Sum                 vides an indication to the reviewer whether or not a given
     calculation is automatically performed by system 20 for all              value has been changed. If the change is accepted a character
     data entered into a computerized form as the data is entered             Such as a tilde is added to the field on the Screen and on the
     into each field (field checksum) and then after the form is         40
                                                                              printout to modify its appearance
     completed (final checksum). In this way, if at Some later date             AS discussed in more detail with reference to FIGS.
     an unauthorized change is made to the data in a stored form,             15–16, application program group 28 also includes check
     the Summation check Sum value for the revised form will be               Sum routines that perform a Summation check on all the data
     different from the original checksum value allowing authori              entered as a given form is completed. In this way, if
     ties to Verify the originality and integrity of the data on all     45   unauthorized changes are later made to a completed form
     Stored forms. The field checksum is automatically generated              Stored in database 26, when the checksum is again
     for each field in a form and if an individual field has a                performed, the resulting value will be different providing a
     history, each entry into that field (i.e., the original entry and        clear indication that an unauthorized change was made to
     any and all Subsequent entries) has its own unique data                  data recorded on the form.
     record created and a checksum generated for its value, date,        50      Data entry for a given form displayed on touch Screen 22
     time of entry, and the user Specific identifier, Such as initials        begins with the user being presented with Signature block
     or a signature. These field checkSum values are Stored in the            70, FIG. 3. Signature verification program 32, FIG. 2, then
     database for future reference in case of audit. When a given             Verifies that the Signature is valid. Next, the user is presented
     form is completed, a final checksum for the entire form                  with form 60, FIG. 4, including fields 50 through 56 and
     record Set (ie, data and form template) is automatically            55   begins the data entry proceSS by entering a value or any other
     generated, using all individual field checksums. This final              required information as shown for field 50, FIG. 5. In this
     checksum value is also Stored in the database.                           example, the user has entered the value “25.” Also in this
        System 20 includes touch screen 22, touch pen 23,                     example, the user then changes the value of 25 in field 50,
     operating system 24 such as Windows 95(R), database pro                  FIG. 6 to the value 27.
     gram 26 such as SQL Server,(E) application program block 28         60      An application program of program block 28, FIG. 2,
     written in, for example, Visual Basic, electronic form pack              automatically monitors whether a change has been made and
     age 30 such as the “Jet Form” product, and signature                     when it detects the change from 25 to 27 in field 50, FIG. 6,
     verification program 32 such as CIC Ink Tools(R)                         it displays signature block 72 to the user. The user then
        In a distributed System, System 20, operating for example             enterS his or her initials as shown and in response the
     on a hardware platform Such as the Fujitsu pen based hand           65   changed value 27 in field 50, FIG. 7 is flagged with tildes
     held computer model “Stylistic 1000” may be connected                    under the control of programming resident in application
     and/or interfaced with server 40 via wireless technology so              program block 28, FIG. 2. The requirement that the user
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                                     7                                                                       8
     enterS his or her initials in block 72 and a Signature in block          right on the printed form unlike prior Systems which
     70, FIG. 3 can be a mere signature capture process wherein               required the generation of an exception report.
     the Signature and/or initials are not verified or a verification
     proceSS wherein only pre-authorized individuals are allowed                 The programming of the checksum feature in accordance
     to effect changes or sign off on a given form.                           with this invention is discussed with reference to FIGS. 15
        On the other hand, once an entry is made to field 50, FIG.            and 16. Field checksums are generated as each field record
     8, and a change is then made, FIG. 9, if the user does not               is created (a new checksum for each new field entry). The
     initial or sign the change in Signature block 72 or use an               field checksum allows a change to any particular field record
     accepted electronic password, the value automatically                    to be flagged. This function ensures that individuals do not
     reverts back to the original value as shown in FIG. 10.                  change a record while the batch record is in process. Once
       All of this information is stored in database 26, FIG. 2.              the batch record is completed, the final checksum is
     Then, when a computerized audit is performed, the auditor                calculated, however the individual field checksums will also
     is presented with pop up screen 74, FIG. 11, which shows the             be included in the batch record checksum (i.e. the batch
     Stored information including the changed value of 27, the                record checksum is a conglomeration of all field records and
     tildes which indicate that a change was made, and the user's        15   their corresponding checksums). Thus, once a complete data
     initials in Signature block 72 providing an indication of who            record is entered, step 130, FIG. 5, a checksum of all the data
     made the change. Also included is the date and time infor                entries entered in all the fields of the form is performed, step
     mation 76 and 78 regarding the entry of the changed value.               132. This Summation check calculation is made for all the
     By clicking back on arrow 80, the auditor is then able to                individual field checksums and this checksum value is
     view, on screen 82, FIG. 12, the original value of 25 as                 Stored, Step 134. Later, if there is access to and a change
     shown at 84 and the date and time information 86 and 88
     indicating when the original value was entered. Since this               made to a data record, step 136, FIG. 16, the checksum
     was the initial value entered, there are no initials in Signature        routine is automatically performed again, Step 138. That
     block 72. Accordingly, if there were two changes instead of              later checksum value is then compared to the previously
     one, the auditor would be presented with a record of all            25   Stored checksum value, StepS 140 and 142 and a flag is
     changes and would understand whether a value entered is                  automatically generated if there is a change between the two
     the original value by the lack of initials in Signature block            checksum values, Step 144 indicating a breach in the integ
     72.                                                                      rity of the Stored data. If there is no change, the access to the
       The programming which implements the above described                   form may have been for viewing purposes, data analysis
     functions is shown in the flow charts of FIGS. 13 and 14.                purposes, or configuration control not related to data integ
     When data is entered into a field, step 100, a check is made             rity and therefore processing would simply continue, Step
     to ascertain whether data has already been entered into that             146. One example of programming which implements the
     field, step 102. If not, a data record for that field is created,        functions shown in FIGS. 13-16 is attached hereto as
     Step 104, including the value entered, and the date and time             appendix A.
     the original value was entered. This processing corresponds         35
                                                                                FIG. 17 describes the Software architecture inside of
     to the original entry of the value 25 in field 50 shown in FIG.
     5. If, on the other hand, it is determined in step 102 that the          system 20, FIG. 1, and shows the relationship between the
     field has a history of one or more previous entries, a sign off          electronic forms software 30 and the other components. The
     request is generated, Step 106 corresponding to the presence             PharmCien Client 162, FIG. 17 launches Pharmoen object
     of signature block 72, FIG. 6 when the value of 25 was              40   160, which is the Software component that loads the elec
     changed to 27 in field 50. If the sign off is accepted, step 108,        tronic forms, checks the field history, captures Signatures,
     FIG. 13, the field is flagged, step 110 by changing its                  creates a changes in field appearances, and interfaces with
     appearance in Some fashion, for example, by the tildes                   the database system. Electronic form filler 30 is controlled
     shown in field 50, FIG. 7. A new data record for that field is           by object 160 and is the primary user interface to the form.
     then created to show the new value entered, the date and            45   Object 160 thus includes elements of application program
     time of the entry of the changed value, and the identity of the          block 28, FIG. 2 and signature verification programs 32.
     user who made the change which is derived from the Signoff,
     step 104, FIG. 13. If the sign off is not accepted, step 108,               Thus, system 20, FIG. 2 provides an improved comput
     the field value is reset to its previous value as shown at 50            erized form processing System and method which automati
     in FIG. 10, step 112, FIG. 13. Processing then continues to         50   cally keeps track of all changes made to data entries in a
     post field control, step 114.                                            computerized form and therefore complies with FDA
        FIG. 14 describes the processing which occurs when a                  requirements concerning data changes. System 20 automati
     form record Set is requested for output (e.g. printing) since            cally flags a changed entry and allows the user to link his or
     electronic form software 30, FIG. 2 lacks the ability to                 her FDA compliant identifier Such as initials, digital Signa
     review all the data records for any given form record Set           55   ture or electronic Signature to the change in accordance with
     when producing an output file. In this invention, an output              the FDA's requirements. A clear audit trail of all data entry
     routine of application program block 28 automatically                    events associated with a paperleSS form is maintained and
     checks the history of each field when a print request is                 system 20 automatically verifies the integrity of stored
     generated. When a print request is generated step 119, FIG.              completed forms. Printouts are provided to the reviewer and
     14, object 160, FIG. 17 reviews each field in the file to           60   for filing which automatically include an indication of
     determine whether there is a history (i.e. whether changes               whether a value was changed without the need to request and
     have been made), step 120, FIG. 14. If that field has a                  generate an exception report.
     history, Step 122, then a distinguishing mark is made to that
     data on the printed output, Step 124. Again, tides may be                   Although specific features of this invention are shown in
     placed in front of and in back of the data value. If no changes     65   Some drawings and not others, this is for convenience only
     have been made, that field is added to the output file, Step             as each feature may be combined with any or all of the other
     126, and processing continues. Thus, the audit trail is visible          features in accordance with the invention.
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       Other embodiments will occur to those skilled in the art                13. The system of claim 12 in which the field modification
     and are within the following claims:                                   routine is further configured to reset the change to the
       What is claimed is:                                                  previously entered information if there is no user Sign off.
       1. A computerized form processing System comprising:                    14. The system of claim 13 further including an authori
       a database for Storing at least one form including one or            Zation routine configured to reset the change to the previ
          more fields;                                                      ously entered information if the user's Sign off is not
                                                                            authorized.
       a viewer for viewing a Stored form;                                     15. A computerized form processing System comprising:
       a data entry device for allowing a user to enter informa                a database for Storing at least one form including one or
          tion into the fields of the form;                                      more fields;
       a monitoring routine configured to actively monitor                    a viewer for viewing a Stored form;
          whether previously entered information in a field of the            a data entry device for allowing a user to enter informa
          form is being changed by the user;                                     tion into the fields of the form;
       a field modification verification routine configured to, on             a monitoring routine configured to actively monitor
          the viewer, prompt the user to sign off on any Such          15        whether previously entered information in a field of the
          change and which further Stores and associates the                     form is being changed by the user; and
          user's Sign off with the change, the field modification              a field modification verification routine configured to
          routine further configured to reset the change to the                  Store and asSociate a user's sign off with any Such
          previously entered information if there is no user Sign                change.
          off, and                                                             16. The system of claim 15 in which the field modification
       an authorization routine configured to reset the change to           routine is further configured to, on the viewer, prompt the
         the previously entered information if the user's Sign off          user to sign off on any Such changes.
          is not authorized.                                                   17. The system of claim 16 in which the field modification
       2. The System of claim 1 further including a storage                 routine is further configured to reset the change to the
     routine configured to automatically Store, in the database, all   25   previously entered information if there is no user Sign off.
     information entered into a field.                                         18. The system of claim 17 further including an authori
       3. The system of claim 1 in which said data entry device             Zation routine configured to reset the change to the previ
     is a touch Screen.                                                     ously entered information if the user's Sign off is not
        4. The system of claim 3 in which said data entry device            authorized.
     includes a pen device.                                                   19. A computerized form processing System comprising:
        5. The system of claim 1 in which said field modification             a database for Storing at least one form including one or
     Verification routine is further configured to display a signa               more fields;
     ture block on the viewer and verify that an entry is made to             a viewer for viewing a stored form;
     the Signature block.                                                     a data entry device for allowing a user to enter informa
        6. The System of claim 1 further including a Summation         35
                                                                                 tion into the fields of the form;
     check routine configured to perform a field Summation                     a monitoring routine configured to actively monitor
     check calculation for the information entered into each field                whether previously entered information in a field of the
     of a form.                                                                   form is being changed by the user; and
        7. The system of claim 6 in which said summation check                 a field modification verification routine configured to reset
     routine is further configured to perform a Summation check        40
                                                                                  the change to the previously entered information if
     calculation for the information entered into the form and                    there is no user Sign off associated with a change.
     further configured to Store a checksum value of Said infor               20. The system of claim 19 in which the field modification
     mation for monitoring changes made to completed forms.                 routine is further configured to, on the viewer, prompt the
        8. The system of claim 7 in which said summation check              user to sign off on any Such change.
     routine is further configured to perform a final Summation        45
                                                                              21. The system of claim 20 in which the field modification
     check calculation for all field Summation check calculations.          routine is further configured to Store and associate the user's
        9. The system of claim 1 further including an output                Sign off with the change.
     routine configured to output a completed form.                           22. The system of claim 21 further including an authori
        10. The system of claim 9 in which said output routine is           Zation routine configured to reset the change to the previ
     further configured to automatically flag on the output any        50
                                                                            ously entered information if the user's Sign off is not
     changes to information entered into a field.                           authorized.
        11. A computerized form processing System comprising:                 23. A computerized form processing System comprising:
        a database for Storing at least one form including one or             a database for Storing at least one form including one or
          more fields;                                                 55        more fields;
       a viewer for viewing a Stored form;                                    a viewer for viewing a Stored form;
       a data entry device for allowing a user to enter informa               a data entry device for allowing a user to enter informa
          tion into the fields of the form;                                      tion into the fields of the form;
        a monitoring routine configured to actively monitor                   a monitoring routine configured to actively monitor
           whether previously entered information in a field of the    60       whether previously entered information in a field of the
           form is being changed by the user; and                               form is being changed by the user; and
        a field modification verification routine configured to, on           an authorization routine configured to reset the change to
           the viewer, prompt the user to sign off on any Such                  the previously entered information if the user is not
           change.                                                               authorized.
        12. The system of claim 11 in which the field modification     65     24. The system of claim 23 further including a field
     routine is further configured to Store and associate the user's        modification verification routine configured to, on the
     Sigh off with the change.                                              Viewer, prompt the user to sign off on any Such changes.
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                                   11                                                                   12
        25. The system of claim 24 in which the field modification              change to the previously entered information if there is
     routine is further configured to Store and associates the                  no user sign off, and
     user's Sign off with the change.                                         an authorization routine configured to reset the change to
        26. The system of claim 25 in which the field modification              the previously entered information if the user's Sign off
     routine is further configured to reset the change to the                    is not authorized.
     previously entered information if there is no user Sign off.              28. The system of claim 27 in which said field modifica
        27. A computerized form processing System comprising:               tion Verification routine is further configured to display a
        a database for Storing at least one form including one or           Signature block on the viewer and verify that an entry is
          more fields;                                                      made to the Signature block.
       a viewer for viewing a Stored form;                                     29. The system of claim 27 further including a summation
       a data entry device for allowing a user to enter informa             check routine configured to perform a field Summation
          tion into the fields of the form;                                 check calculation for the information entered into each field
       a data entry verification routine configured to, on the              of a form.
         Viewer, prompt the user to Sign off on any Such entry         15     30. The system of claim 29 in which said Summation
          and which further Stores and associates the user's                check routine is further configured to perform a Summation
          identification, date, and time with the entry, the data           check calculation for the information entered into the form
          entry verification routine further configured to not              and further configured to Store a checkSum value of Said
          accept the entry if there is no user Sign off;                    information for monitoring changes made to completed
       a monitoring routine further configured to actively moni             forms.
          tor whether previously entered information in a field of             31. The system of claim 27 further including an output
          the form is being changed by the user;                            routine configured to output a completed form.
       a field modification verification routine configured to, on             32. The system of claim 31 in which said output routine
          the viewer, prompt the user to sign off on any Such               is further configured to automatically flag on the output any
          change and which further Stores and associates the           25   changes to information entered into a field.
          user's identification, date and time with the change, the
          field modification routine further configured to reset the                              k   k   k   k   k
